 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION FILED
UNITED STATES OF AMERICA, ) NOV 19 2014
) U.S. DISTRICT COURT
Plaintiff, ) EASTERN DISTRICT OF MO
) ST. LOUIS
v. ) No.
)
BRANDON ORLANDO BALDWIN, ) e
a/k/a Brandon Muhammed, and ) 4: 14CR366 HEA/ TCM
OLAJUWON DAVIS, )
a/k/a “Olajuwon Ali”, )
a/k/a “Brother Ali”, )
)
Defendants.
INDICTMENT
COUNT 1
The Grand Jury charges:

Beginning at a time unknown but including November 1, 2014, and continuing thereafter
to on or about November 13, 2014, with the exact dates unknown to this Grand Jury, in the

Eastern District of Missouri,

BRANDON ORLANDO BALDWIN,
a/k/a Brandon Muhammed, and
OLAJUWON DAVIS,

a/k/a “Olajuwon Ali”,

a/k/a “Brother Ali”,

the defendants herein, aided and abetted each other, in connection with the acquisition of

firearms to wit:

1) A Hi-Point Firearm, Haskell Mfg. Inc., Model JHP .45ACP Pistol bearing serial number
X4263775; and

2) A Hi-Point Firearm, Haskell Mfg. Inc., Model JHP .45ACP Pistol bearing serial number
X4263774.,
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from Cabela’s Retail — Hazelwood, Missouri, a licensed dealer, did knowingly make a false and
fictitious written statement to said dealer, which statement was intended and likely to deceive
said licensed dealer with respect to a fact material to the lawfulness of the sale of said firearms
under Chapter 44 of Title 18, of the United States Code, in that Brandon Orlando Baldwin, a/k/a
Brandon Muhammed represented that he was the actual buyer of said firearms when in fact
Brandon Orlando Baldwin, a/k/a Brandon Muhammed was acquiring said firearms on behalf of
another person.

In violation of Title 18, United States Code, Sections 2, 922(a)(6), and 924(a)(2).

A TRUE BILL,

 

FOREPERSON

RICHARD G. CALLAHAN
United States Attorney

 

KENNETH R. TIHEN, 37325MO
Assistant United States Attorney
